Case 1:19-cv-10203-IT Document 181-14 Filed 10/28/22 Page 1 of 9




                EXHIBIT N
                       Case 1:19-cv-10203-IT Document 181-14 Filed 10/28/22 Page 2 of 9
                                                                                                                           LARSON

csriJii                                                                                 Sonya Larson <sonya@grubstreet.org>
street
Have fun at VSCI
Sonya Larson <sonya@grubstreet.org>                                                                  Tue, Aug 16, 2016 at 3:02 PM
To: Dawn Dorland <dawndoriand@gmail.com>

 Hello, Dawn

 Ah-- I'm glad to say ! feel such relief as well. And I apologize for the long delay in writing this note--1 was trying not to look
 at Grub email for my remaining weeks at VSC. But yes: let me reiterate that I value our relationship and I regret my part in
 these miscommunications and misunderstandings. I look forward to reading your work as well-- you obviously have such
 rich material to draw from.

 I look forward to seeing you again with the strength of this conversation between us. Thank you again, and I hear that
 you're at your own residency too- enjoy it and write like crazy!

 Sincerely,
 Sonya


 Sonya Larson
 Assistant Director, Muse Conference
 in office Monday-Friday, 12:00-6:00pm. I check email starting at 1:00pm.

 fprjt------




 Grub Street
 162 Boyfston Street, 5(h Floor
 Boston, MA 02116

 grubstreet.org 1617.695.0075
 TW: @GrubWriters | FB: GaibStreetWriters



  On Thu, Jul 21, 2016 at 4:53 PM, Dawn Dorland <dawndorland@gmail.com> wrote:
  i Dear Sonya,

  | Whew -- thank you. I am so relieved to get this message! I really hope that we can remain friends. Your email gives me
  j confidence that we can.

  j I think we both understand by now that this particular art/life situation was convoluted by my having invited you (as a
    friend) to private information around my donation ahead of the donation itself. Yes, I was confused by your lack of
    participation in the group on fb, and that when I messaged you about it, you didn't respond (have you dbl-checked
    that?). Then when I emailed you later in the summer, the fact that I had to remind you about the donation seemed very
    strange (did you go back to those emails?), i was pretty confused, but I figured that you hadn't actually seen any of the
  f
    private posts. I shrugged it off.

    Then, this year, when someone asked me if my kidney donation was the inspiration for a story you had written - and
    when you confirmed that my donation had sent you down a fictional path - it felt like appropriation in the sense that, it
    seemed to me, you had taken something from the friendship without nurturing the friendship (my real-life gesture) itself.
    Does that make sense? I do really appreciate all of the positive things that you have written to me lately and said about
  i my own donation now that we're actually talking about it. Thank you.

  i Heads up: Race and shame did come into play during my donation-and continue to with my LKD advocacy--and are
  j certainly part of a fictional donation that's already in my novel about race and class, FYI. (There's some great
  j grandiosity in the A/ew Yor/cer article I mentioned.) And as for my NF projects, as I've said, this situation has surfaced
    intellectual questions that I think are useful to all fiction writers. The fb discussion -- which wasn't limited to, nor
  j                                                                                                                            P90
                       Case 1:19-cv-10203-IT Document 181-14 Filed 10/28/22 Page 3 of 9
                                                                                                                            LARSON
| specifically revealing of this circumstance - signaled that everyone is making some assumption about whether it's ok to
; u,se writers' lives as fictional material: some say it comes with the territory; others say, absolutely not. I have ideas now
i about how we might all proceed humanly with one another, nourishing our relationships with both writers and non-
! writers without sacrificing our artistic freedoms. My eventual essay won't be about this situation in its particulars but,
! broadly, about how we writing fiction from observation use and might acknowledge (interpersonally) material that we
) incorporate from other peoples' lives. 1 no longer think this is the case here.

     Finally, I can see how my asking to read the story might have worried you that J was trying to take control (if that's what
     did it). I’m sorry. I do wish you’d given me the benefit of the doubt, not only because of who you know me to be, but
     because donating a kidney is no better practice for giving up control! Lol. But thank you for your reflection, your apology,
     and your regret. Asking to read the story, I was only trying to start a conversation with you - clunkily, I see now -- about
     something I didn’t even know was true. Curiously, you did offer to send me the story when it was ready; you definitely
     don’t need to do that. I wish you so much success - it sounds fantastic -- and I will happily read your work in print.

     Thanks so much for taking the time to tend to this while you're on residency, Sonya. It's the mark of a true friend,

     I wish you the best and look forward to giving you a hug when I see you next.

i Don’t forget the waterfall.

} Love,
  Dawn

     On Thu, Jul 21,2016 at 1:08 PM, Sonya Larson <sonya@grubstreet.org> wrote:
      j Hey Dawn,
      \
        I do want to make peace, and have a few things to say. First of all, some info: I actually haven't read this Facebook
        discussion that you mentioned, and I don't know who was a part of it, or who wasn't. Certainly nobody is speaking as
        a 'proxy' for me. What I have to say I'll tell you directly.

          I definitely understand how learning of my story-- and not from me-- could make you feel uncomfortable. For what it's
          worth, I was indeed planning to tell you about the piece-- should it ever be published— to assure you that while it's
          structured around a donation, it's certainly not 'about you' or your story. But that hasn't happened, and I suppose that
          the would-have-dOne-it gesture is moot now.i feel regret that this is playing out-in-this-way.

      \ I myself have seen references to my own life in others' fiction, and it certainly felt weird at first. But I maintain that
      j they have a right to write about what they want- as do I, and as do you. I do think that non-fiction bears more
      | responsibility, but that's not what I'm doing here, and I don't plan to. If you ever do read the story, I hope you'll see
      (that it's not actually *about* a donation- I know close to nothing about that experience. Instead, it's about race,
      I shame, grandiosity, addiction- things that I'd guess are not a part of your real-life story. But they're a part of mine, for
      i better or for worse, and this fiction- all my fiction- travels inevitably toward my particular struggles.
 \    ;
j     j Perhaps we're talking passed one another re; art and friendship because we see their connection differently. For me,
ij    | honoring another's artistic freedom is a gesture of friendship, and of trust. At first I read your emails as an attempt to
      | control how or what I write- which runs directly counter to what I value in art and what I value in friendship.

    But upon reflection, I see that you're merely expressing real hurt, and for that l am truly sorry. I certainly don't want
    that, and ! wish that I had given you a head's up earlier- had given you that benefit of the doubt, as you say- while
    somehow not compromising my work-in-progress, which is what i fear in discussing any unfinished work. Regarding
  ) our relationship, I feel frustration in hearing you say that my 'silence' on Facebook shows a lack of support. To my
I j mind, I have told you that I support you repeatedly, and that I think so highly of you, and yet you say you're still not
! feeling it. I'm not sure what to do about that, but we do seem to be miscommunicating in this regard.

        All this is to say that if you do, in fact, want to write about your donation, or this situation, or even about me: by all
      i means, go ahead. To my mind, i have always encouraged you as a writer and a person, and I would not stop now, or
      I ever.

         I, too, don't want to lose our relationship. I hope that we can at least continue in a professional manner, and perhaps
      •: more.

      j Cheers,
      li Sonya


      i
                                                                                                                                 P91
                      Case 1:19-cv-10203-IT Document 181-14 Filed 10/28/22 Page 4 of 9
| Sonya Larson
j Assistant Director, Muse Conference
• in office Monday-Friday, 12:00-6:00pm. i check email starting at 1:00pm.


    R

    Grub Street
    162 Boyiston Street, 5th Floor
    Boston, MA 02116

    grubstreet.org 1617.695.0075
    TW: @GrubWriters | FB: GrubStreetWriters



    On Wed, Jul 20, 2016 at 6:16 PM, Dawn Dorland <dawndorland@gmail.com>' wrote:
      Dear Sonya,

         Am I correct that you do not want to make peace? Not hearing from you sends that message; please let me know. I
         am concerned first and foremost to lose you as a friend -1 had considered you a good friend.

         I'm also concerned about the climate between us as we continue to work together and see each other at the Muse,
         etc.; be fellow writers in the Grub Street and other communities; and maintain a shitload of mutual friendships! As I
         said in my message yesterday, I'm ready to let this go, but I need to hear from you in order to mend this - it's
         another small courtesy that I seek.

         Love,
         Dawn

         Sent by telepathy
i

f        Begin-forwarded-message:         -


                 From: Dawn Dorland <dawndor!and@gmail.com>
!                Date: July 19, 2016 at 4:09:54 PM PDT
!                To: Sonya Larson <sonya@grubstreet.org>
                 Subject: Fwd: Have fun atVSC!

|                Hey, Sonya -1 know you're at VSC but I wanted to reach out to you be you're important to me. I think
                 you're aware that I moderated a discussion on fb yesterday (Sari might have been your proxy, but
                 she hasn't confirmed that) which was in part about the disagreement we’ve had. Having seen so
                 many stories now of appropriation, I'm ready to let this one (which is borderline, at best) go. The
                 situation you've confronted me with has surfaced many intellectual questions about empathy and the
                 humans behind our observed fictions, material that I will mull over and write about for some time. So
                 that’s good, if painful to get there. I am still surprised that you didn’t care about my personal feelings
                 as much as i would have thought; I’m bewildered about why you didn't just tell me the many times we
5                interacted this year that you were working in this area fictionally --1 wish you'd given me the benefit
I
r                of the doubt that I wouldn't interfere. I am also uncomfortable, as I've said, about your using access
                 to info about my donation process and outcome on fb in the closed group but not supporting me in
!                my gesture, in any way that was apparent to me, as a friend (which is why I eventually removed you
i                from the group).
!
                 If you'd like to mend things, Sonya, please let me hear from you. I’d offer to get on the phone, which
                 is best, but I'm having day surgery tomorrow and teaching a seminar this wknd, so email is better this
                 time: dawndorland@gmaiI.com.

                 Be well, Sonya -1 look forward to hearing from you.

                 Love,
I                Dawn
;
     !                                                                                                                        P92
                 Case 1:19-cv-10203-IT Document 181-14 Filed 10/28/22 Page 5 of 9
        5
            PS I texted you this message be I'm not sure about continuing this convo on your Grub email but 1
            also, regrettably, accidentally texted it to Chris CastellaniN! (I had both of your cell numbers listed for
            you, prolly from the Muse.) I'm so sorry. He was very kind about it.

            Sent by telepathy

            Begin forwarded message:


                   From: Dawn Dorland <dawndorland@gmaii.com>
                   Date: July 15, 2016 at 5:58:42 PM PDT
                   To: Sonya Larson <sonya@grubstreet.org>
                   Subject: Re: Have fun at VSC!
    I

    f              Dear Sonya,
    f
                   That's cool, Sonya, but not an apology (for which I would have been grateful). Though
                   you have consistently reverted to art as a defense, I have stressed that this interaction
                   has upset me as a friend. You have not responded to my key question: how you
                   thought l would feel when I eventually found out. I see you resorting to passivity as a
                   defense, but here was a friend entrusting something to you, making herself vulnerable
                   to you. At least, the conclusion I can draw from your responses is that I was mistaken
                   to consider us the friends that l did.

                   But as for fiction, I maintain humbly that I am deserving of empathy in this situation,
                   too. I trusted that someone with your heart & fictional muscles would see that,
                   eventually, and hear me, which is why i bothered. I wanted no part of your story project,
                   only to understand why you misled me, or a simple admission of a mistake if that's
                   what - in the rearview - you could admit that it was.

                   But you've known what was going on in your mind for a year; I've only just caught up. I
                   have confided the situation discreetly to several people (including writers) to make sure
                   I -wasnlt r.eacting.defensively. And^despite.the heartache and disappointment of your
                   news this week, Sonya, I've ended in a strong place intellectually. And so the art-wtieei
                   turns again: If I write about it in either my current memoir project, or an essay, I'll let you
    i              know.
i
    -              Dawn

\ !                Sent by telepathy
    i
                   On Jul 15, 2016, at 3:18 PM, Sonya Larson <sonya@grubstreet.org> wrote:


    i                      Hi Dawn,

                           I'm sorry that you feel this way- that is not my intention. I want you to
                           know that I absolutely do support your donation; I think it's tremendous.
                           Before this email exchange, I hadn't considered that my individual vocal
                           support (or absence of it) was of much significance. And I hadn't thought
                           of myself as in a position to endorse or not endorse- I was simply
                           interested to read whatever updates came across my feed. But if you
                           have indeed been wondering about my support, I can totally see how my
                           'silence' could make you fee! that something is 'off.' That is certainly not
                           my intent.
        !                  As for my story, I disagree that not telling you about it while I'm working
                           on it is somehow in the wrong. It is a work of fiction, formed wholly by my
                           particular imagination. Thanks to you as well for the correspondence, and
                           I wish you well in your work too.
f
    I
f
    \                      Cheers
                           Sonya
!                                                                                                                         P93
i
                  Case 1:19-cv-10203-IT Document 181-14 Filed 10/28/22 Page 6 of 9

                        Sonya Larson
     I                  Assistant Director, Muse Conference
     \(                 In office Monciay-Frtday, 12:00-6:00pm. I check email starling at 1:00pm.

     i




     i
                        Grub Street
                        162 Boyfston Street, 5th Floor
                        Boston, MA 02116

     |                  gmbstreet.org 1617.695.0075
                        TW: ©GrubWriters [ FB: GmbStreetWriters


     i
     1
              !         On Tue, Jul 12, 2016 at 5:25 PM, Dawn Dorland
                        <dawndorland@gmaii.com> wrote:
                         j Dear Sonya,

i                          I appreciate ail of your correspondence now on this. And yes, I agree
i
                           that your process of writing fiction sparked by my or anyone's donation
                           needn't have anything to do with me or my particular situation in an
                           artistic sense-l'm talking about what this feels like having disclosed my
                           intent to you to donate, as a friend.
      r
                           It's the interpersonal layer that feels off to me, Sonya. If you check fb I
                          think you'll see that I msg'ed you about staying/participating in the
                          kidney group ahead of my donation and you didn't respond. I assumed
      r                    at the time that you might not have seen any of the private kidney
                           posts; you've just confirmed that you did. I was confused about the
T
                          -radio silence J-wrote-you-an-email-l-think-lastJ.uly-?-and_you_seemed.
                           not to be aware of my donation until I pointed it out. I was giving you
                           the space to not endorse my choice if you didn't want to (I did get some
                           strange reactions). But if you had already kicked off your fictional
                           project at this time, well i think your behavior is a little deceptive. At
                           least, weird. Add to that Tom Meek tagging you on fb recently with the
                           question about the inspiration for your story; you didn't respond
      j                    (though remained active), ft makes me uncomfortable that we're only
                           having this conversation because I initiated it. How would I have found
      r                    out about this otherwise? Putting yourself in my shoes.,, to see a friend
                           publish a story inspired by something that you did, without her really
i
                           supporting the actual gesture, nor disclosing that she was working on a
                           story inspired by your own... would that feel great to you? Upstanding?
                           Exploitative?

                           Re: being deserving, I mean that I feel anyone being medically cleared
                           to receive a kidney is deserving. There are a lot of other projections of
                           deserving/undeserving that can be made even on those who have
                           been medically cleared (fruitful terrain forfiction-although Larissa
                           MacFarquahar has already done it with reporting in "The Kindest Cut").
                           One faces that human tendency, especially, if you participate in a
                           nondirected donation like I did, not that I struggled with it too much.

                         j Thanks again for the correspondence, Sonya. Let me know If you'd like
                           to talk on the phone. Otherwise, I wish you well in your work.
! I
■:1                      j Kindly,
                            Dawn
          f
                         \i
                         ? Sent by telepathy

                           On Jul 12, 2016, at 1:01 PM, Sonya Larson <sonya@grubstreetorg>
              !                                                                                          P94
                Case 1:19-cv-10203-IT Document 181-14 Filed 10/28/22 Page 7 of 9
                       wrote:

                                Hey Dawn!

                                Yes, I'iS try not to pressure myself too much. And my
                                memory is that I did indeed join the FB group; either way,
                                I want to emphasize that my story is not about you or
                                your particular gift, but about narrative possibilities 1
                                began thinking about in the context of kidney donation.
    i                           So while your tremendous gift certainly prompted my
                                imagination, I actually see the processing of writing the
                                story as quite separate. Thus why I haven't mentioned
                                the piece to you (or really to anyone outside of my writing
                                group).
    !
                                And i love the idea that we all deserve such gifts-- it's an
                                idea that seems seldom entertained when people debate
            !                   which organ recipients may be more "deserving" than
                                others, and for what reasons. My doctor friends tell me,
            !                   for example, that they won't perform transplant surgery
                                on someone they suspect won't take steadfast care of
                                the new organ. Which makes sense, I suppose, but
                                obviously that calculus has a huge impact on who gets
                                kidneys and who doesn't. It's all so complex and the
                                stakes are so high--1 find it so fascinating!

    s                           Cheers;
                                Sonya
    !
    I
                                Sonya Larson
I |                             Assistant Director, Muse Conference
    i
                                In office Monday-Friday, 12:00-6:00pm. i check email starting at 1:00pm.
    U
                                m
    l



                                Grub Street
                                162 Boylston Street, 5th Floor
                                Boston, MA 02116

                                grubstreet.org [ 617.695.0075
                                TW: @GrubWriters j FB: GrubStreetWriters



                                On Mon, Jul 11, 2016 at 7:10 PM, Dawn Dorland
                                <dawndorland@gmail.com> wrote:
        i                         Hey, girl! Have an awesome time at VSC! Try not to
                                  pressure yourself too much...

        i                          & thanks for catching me up on your kidney work. I
        !                          admit, I was a little surprised to hear you'd been
        S                          working on something like that since we're friends and
        i                          you hadn't mentioned it (and you hadn't seemed
                                   interested in joining the fb group or interacting with my
                                   story too much--maybe I got the wrong idea there?).
; !
        i
                                   But of course, it's very flattering for the gesture to
                                   already be finding its expression in art. Indeed, many
I! II                              of your same questions are what fuel my own
 ! =                               advocacy, which at its center is a sense that we all
i                                  deserve such gifts.

                                   Kindly,
!
* !                                                                                                        P95
                Case 1:19-cv-10203-IT Document 181-14 Filed 10/28/22 Page 8 of 9
                                  Dawn
        J

                                  Sent by telepathy

                                  On Jul 11, 2016, at 3:26 PM, Sonya Larson
                                  <sonya@grubstreet.org> wrote:


                                         Hello, Dawn!
        5
i
                                         Ah, it's good to hear from you, and !
s
                                         apologize for the delay in responding,
                                         j've been at Warren Wilson for the last 2
                                         weeks and am back in the real world just
        I                                today!! do Indeed leave for VSC on
        !                                Saturday, and I am so excited and
        S
        J                                nervous. I’ve never done a residency
                                         before, and I guess I feel this pressure to
                                         make it super-productive or else. But it
                                         comforts me to know that you and others
                                         who have been there before say such
                                         glowing things. I will indeed say hello to
                                         these Todd and Ryan men! And I'll
                                         submit my work to the visiting writers
                                         too-1 haven't known what to expect,
                                         based on the few things I know about
                                         that process. But what you say here is
j                                        very encouraging.

                                         And I have indeed been writing a story
*                                        about a woman who receives a kidney,
                                         partially inspired by how my imagination
                                         took off after learning of your own
                                         tremendous donation.-What-got- me
        !                                thinking was this question: what would
                                         happen if the recipient of such a life­
                                         saving gift wasn't particularly grateful to
                                         get it (due to ongoing shame, pride,
                                         anger, etc.)? Or couldn't express
                                         gratitude, or didn't want to? In other
                                         words, how does a person adequately
                                         thank someone for literally giving her
                                         life? How does one even begin to
                       I                 express that? I have no idea, but I
            i
                                         started writing a scene of a kidney
*                                        recipient at Target, shopping for a gift for
            i
            i
                                         her donor that might somehow convey
                                         all her feelings. And I've been working
                                         on the story from there. I find these
                                         questions so fascinating, and no doubt
                                         you've encountered them in real life
                                         yourself. I hope it doesn't feel too weird
    L                                    for your gift to have inspired works of art,
            ;                            but after I heard your story, I found
            *
                                         myself captivated by other kidney
    i )                                  donation stories and went to learn more.
    \
    !                         !          VWiat a tremendous world it is-
    I !
            !                            encapsulating so many high-stakes
                              I          questions of life and death, giving and
                                         receiving, feeling "deserving" or
            \                            "undeserving," and the connections
                                         deepened and complicated among all
                                         the people involved.
            !
            5
            !
    t
            i                                                                           P96
                 Case 1:19-cv-10203-IT Document 181-14 Filed 10/28/22 Page 9 of 9
         I
                              i          At any rate, I'm still working on the story
                              !          and don’t feel quite ready to show the full
                              t
                                         thing to people, but ffd be happy to send
                                         it once it's finished. Thank you for
                                         asking. And have a wonderful time at
                                         Ragdale--1 hear such great things about
                                         that place too! May your write your butt
                                         off!

                                         Cheers.
                                         Sonya
    i

    f                                    Sonya Larson
    i
                                         Assistant Director, Muse Conference
    J                                    fn office Monday-Friday, 12:00-6:00pm. I check email
                                         starling at 1:00pm.
    ir

                                          m
    :
    5

                                          Grub Street
                                          162 Boyiston Street, 5th Floor
                                          Boston, MA 02116

                                          gaibstreet.org | 617.695.0075
                                          TW: @GrubWri(ers | FB: GrubStreetWnters



                                          On Thu, Jun 30, 2016 at 9:56 AM, Dawn
    t                                     Dorland <dawndorland@gmaii.com>
                                  ..... -wrote:- -........... ........ - - -........- - -
                                            Dear Sonya,

                                               I just remembered that you'll be off
    i                                          soon to VSC! Have such a wonderful
                                               time, stay focused, and swim in the
                                               waterfall. Please say hi to Todd, a
                                               dapper gentleman on the grounds, for
                                               me, and Ryan the writing director.

                                             There was one other tip I thought of
                                             for you and didn't have time to share
                                             at the Muse: you should definitely
                                             submit work to the visiting poets and
                                             writers. My meetings with the couple
    >                                        of folks who came through there, most
                                             of whom I'd never heard of, were
    i                                      l transformative. I'm still talking about it.
     !                                     i
                                               Hey,! heard you wrote a kidney
    J i                                        donation story. Cool! Can I read it?
             i
    5 !                                        Wishing you a wonderful residency,
    5
    \ I                                        Sonya! Congratulations again. Think
                                               of me from time to time working away
    >                                          alongside you at Ragdale (Jufy-Aug)~
I                       s
                                               Kindly,
                                               long lost,
    i                                          Dawn
    i
    \
         i                                                                                      P97
